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From: Michael Merino
Date: February 24, 2020 at 3:03:04 PM EST
To: "Reid, Erin (USANYE)"
Subject: US vs. Genaro Garcia Luna ‐ Indictment No. CR19.576


Ms. Reid:

Good afternoon.

As you are aware, the undersigned represents the above‐referenced Defendant in connection
with the sale of certain real property he owns through a corporate entity called GL & Associates
Consulting LLC (“GL”). The corporate entity GL owns the property located at 2980 NE. 207th St.,
Unit 507 and Aventura, Florida. I have left you a few messages on your voice mail to follow up
on our initial phone conference, but unfortunately, I have been unsuccessful in locating you.

Please note that we are currently under contract. Upon the examination of title, and in
particular, a name search of the defendant, the above referenced indictment appeared. Prior
to insuring title to the property, the title insurance underwriter is requiring a satisfactory waiver
and release from the United States of America releasing any and all claims or interest it may
have in the subject property including any rights of forfeiture arising out of said indictment. As
we discussed previously, we need to know whether or not the property can be sold with the
proceeds being held in escrow or under the supervision of the court pending the outcome of
the case and if it is possible for the property to be sold, we would like to know the procedure,
logistics, etc so that we can finalize the sale. Under the terms and conditions of the contract,
the buyer has already deposited $100,000 into escrow. The buyer is very anxious to close the
transaction. Please let me know whether or not this purchase and sale is possible. If it is not
possible, please let me new as soon as possible so I can inform all parties involved. Time is of
the essence. I look forward to hearing from you soon.




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